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     Exhibit 370
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THOMAS A. CLARE, P.C.                                                               MEGAN L. MEIER

                                            December 18, 2020

  Via Email

   Robert Herring                                      Bruce Littman
   Chief Executive Officer, OANN                       Executive Vice President, OANN
   Email: bobby@awetv.com                              Email: bruce.littman@oann.com

   Charles Herring
   President, OANN
   Email: charles.herring@oann.com

                 Re:    OANN’s Publication of False Accusations About Dominion
    Dear Messrs. Herring and Mr. Littman:

           We represent US Dominion Inc. and its wholly owned subsidiaries, Dominion Voting
    Systems, Inc. and Dominion Voting Systems Corporation (collectively, “Dominion”).

           We understand that OANN is planning to broadcast an “exclusive investigation” into the
    2020 election—titled “Dominion-izing The Vote” at 10:00 pm EST on Saturday, December 19, 2020.
    We write for two reasons: (1) to put OANN on formal written notice of the facts so that there is
    absolutely no doubt at a future date about the information that was known to OANN before that
    program is broadcast; and (2) to demand retraction, pursuant to all applicable law, of OANN’s
    previous false accusations about Dominion.

    I.     Facts about Dominion and the 2020 U.S. Presidential Election.

           1.      Dominion plays a very limited role in elections.

           Dominion provides tools such as voting machines that accurately tabulate votes for the
    thousands of bipartisan poll workers, poll watchers, and local election officials across the country
    who work tirelessly to run elections and ensure accurate results. Dominion’s machines count votes
    from county-verified voters using a durable paper ballot.

           2.      The vote counts from Dominion’s machines have been verified by independent
                   audits and recounts of paper ballots.

             There are mountains of hard evidence conclusively debunking claims of vote manipulation
    and election rigging against Dominion—namely, the mountains of paper ballots that local election
    officials and volunteers recounted by hand, proving beyond any shadow of a doubt that the vote
    counts from Dominion’s machines were accurate.
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      Poll workers count paper ballots while poll watchers observe in Gwinnett County, Georgia on November 14, 2020.

        3.       Dominion did not pay kickbacks to secure a “no-bid” contract in Georgia and claims
                 to the contrary are based on doctored “evidence” submitted by a facially unreliable
                 source with a powerful financial motive to lie.

        After Trump-supporting Republicans in Georgia debunked Sidney Powell’s election-rigging
claims by announcing the results of the paper ballot recount and refusing to overturn Georgia’s
election results, Ms. Powell attempted to discredit them by falsely accusing Dominion of paying them
kickbacks to get a “no-bid” contract for the use of its systems in the 2020 election. As set forth in
our demand letter to her (which is attached for your review as Exhibit 1), Ms. Powell is an unreliable
source who has misrepresented and manufactured evidence to support her false accusations, which
she uses to solicit millions of dollars. Ms. Powell has never put forward any evidence—except for a
doctored Secretary of State certificate—in support of these false accusations. No such evidence exists
because her accusations are categorically false. Indeed, public records show that there was a bid
process for the contract in Georgia and that Dominion offered Georgia the lowest-cost system among
three companies that submitted bids, one of which—as explained below—was Smartmatic, an entirely
separate company and competitor to Dominion.1




1
 Georgia Secretary of State, Elections Security Is Our Top Priority: Security-Focused Tech Company,
Dominion Voting to Implement New Verified Paper Ballot System, available at,
https://sos.ga.gov/securevoting/.


                                                             2
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       4.      Dominion’s founder never claimed he could “change a million votes, no problem at
               all” and he cannot, in fact, do so.

       Sidney Powell has also claimed that there is a video of Dominion’s founder admitting that
he “can change a million votes, no problem at all.” She promised to tweet out the video, but she
never did. Nor has anyone else ever produced any video of Dominion’s founder making such a
claim. This is because no such video exists. Dominion’s founder never made such a claim because
Dominion cannot change votes. Its machines simply tabulate the paper ballots that remain in the
custody of the local election officials—nothing more, nothing less.

       5.      Dominion is not Smartmatic and it has no connection to Hugo Chavez, Venezuela,
               China, or George Soros.

        As is readily apparent from documents in the public domain, Hugo Chavez’s elections were
not handled by Dominion, but by an entirely different company—Smartmatic. Dominion and
Smartmatic are entirely separate companies who compete against each other. Indeed, as reflected
in records from the Georgia Secretary of State, Dominion and Smartmatic competed against each
other for the contract to provide vote counting machines for the 2020 election.

       Dominion was not created in or for Venezuela, has never been located there, and is not
owned by Smartmatic or Venezuelan or Chinese investors. Dominion has never provided machines
or any of its software or technology to Venezuela, nor has it ever participated in any elections in
Venezuela. It did not receive $400 million from the Chinese in the weeks before the 2020 election
or otherwise. It has no ties to the Chinese government, the Venezuelan government, Hugo Chavez,
Malloch Brown, or George Soros. And Dominion does not use Smartmatic’s software or machines,
nor was there Smartmatic technology in any of Dominion’s voting machines in the 2020 election.

II.    There is no reliable evidence to support the defamatory falsehoods about Dominion.

       Numerous credible sources have uniformly confirmed that there is no reliable evidence to
support accusations of vote manipulation or election rigging against Dominion. By way of example:

       •    By November 10, 2020, a spokesperson for the Michigan Secretary of State confirmed,
            “We have not seen any evidence of fraud or foul play in the actual administration of the
            election. What we have seen is that it was smooth, transparent, secure and accurate.”2

       •    On November 12, 2020, the Elections Infrastructure Government Coordinating
            Council and the Election Infrastructure Sector Coordinating Executive Committees
            released a joint statement confirming that there is “no evidence that any voting system




2
 Nick Corasaniti, Reid J. Epstein & Jim Rutenberg, The Times Called Officials in Every State: No
Evidence of Voter Fraud, The N. Y. Times (Nov. 10, 2020), available at,
https://www.nytimes.com/2020/11/10/us/politics/voting-fraud.html.


                                                  3
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            deleted or lost votes, changed votes, or was in any way compromised” and that the 2020
            election was the most secure in American history.3

        •   On November 16, 2020, fifty-nine specialists in election security issued a statement that
            “no credible evidence has been put forth that supports a conclusion that the 2020
            election outcome in any state has been altered through technical compromise.”4

        •   On November 17, 2020, the Chairman of the Maricopa County Board of Supervisors
            released a statement explaining, “The evidence overwhelmingly shows the system used
            in Maricopa County is accurate and provided voters with a reliable election ... The
            Dominion tabulation equipment met mandatory requirements during logic and accuracy
            testing before the Presidential Preference Election, the Primary Election and the General
            Election. And after each of these 2020 elections, the hand count audit showed the
            machines generated an accurate count.”5

        •   On November 19, 2020, the Trump-supporting Republican Secretary of State Brad
            Raffensperger explained that “Georgia’s historic first statewide audit reaffirmed that the
            state’s new secure paper ballot voting system accurately counted and reported results.”6
            And, Georgia’s Trump-supporting Republican Governor Brian Kemp likewise refused to
            overturn the state’s election results.




3
  Cybersecurity & Infrastructure Security Agency, Joint Statement From Elections Infrastructure
Government Coordinating Council & The Election Infrastructure Sector Coordinating Executive Committees
(Nov. 12, 2020), available at https://www.cisa.gov/news/2020/11/12/joint-statement-elections-
infrastructure-government-coordinating-council-election (emphasis added).
4
  See Scientists say no credible evidence of computer fraud in the 2020 election outcome, but policymakers must
work      with      experts     to     improve    confidence      (Nov.     16,     2020),     available    at,
https://www.mattblaze.org/papers/election2020.pdf.
5
   Letter from Clint Hickman to Maricopa Cty. Voters (Nov. 17, 2020), available at,
https://www.maricopa.gov/DocumentCenter/View/64676/PR69-11-17-20-Letter-to-
Voters#:~:text=Here%20are%20the%20facts%3A&text=The%20evidence%20overwhelmingly%2
0shows%20the,voters%20with%20a%20reliable%20election.&text=As%20required%20by%20la
w%20(A.R.S,used%20in%20any%20Arizona%20elections.
6
  Georgia Secretary of State, Historic First Statewide Audit of Paper Ballots Upholds Result of Presidential
Race,                                                 available                                             at,
https://sos.ga.gov/index.php/elections/historic_first_statewide_audit_of_paper_ballots_upholds_
result_of_presidential_race#:~:text=2020%20Qualifying%20Packet-
,Historic%20First%20Statewide%20Audit%20of%20Paper%20Ballots%20Upholds%20Result%2
0of,machine%20tally%20of%20votes%20cast.


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        •   On December 1, 2020, Trump loyalist U.S. Attorney General Bill Barr issued a statement
            that “we haven’t seen anything to substantiate” allegations that “machines were
            programmed essentially to skew the election results.”7

        •   On December 7, 2020, after Ms. Powell submitted her “evidence” to a federal judge in
            Michigan, the judge observed that she had submitted “nothing but speculation and
            conjecture that votes for President Trump were destroyed, discarded or switched to votes
            for Vice President Biden.” Op. & Order Den. Pl.’s Emer. Motion. for Decl., Emer., and
            Inj. Relief at 34, King v. Whitmer, No. 20-cv-12134 (E.D. Mich. Dec. 7, 2020) [Dkt. 62].

         Ms. Powell, on the other hand, has not presented a shred of actual evidence in support of
any of her accusations against Dominion. But OANN was not alone in failing to obtain any evidence
from Ms. Powell: Fox News was equally unsuccessful in persuading Ms. Powell to reveal the
“evidence” she claimed to have in support of her outlandish accusations. Tucker Carlson called her
out publicly for failing to do so.8 Nor, apparently, has Ms. Powell disclosed her top-secret evidence
to Trump loyalist and U.S. Attorney General Bill Barr, who issued a statement that “we haven’t seen
anything to substantiate” allegations that “machines were programmed essentially to skew the
election results.” 9 With no real evidence to support her claims, Ms. Powell’s team deliberately
misrepresented that a person who had never worked in military intelligence was actually a “military
intelligence expert.” 10 And, from the near-verbatim manifestos in the Venezuelan declarations
attached to her court filings, it is painfully obvious to even a casual observer that those witnesses did
not write their declarations independently.

III.    Proven liars, conspiracy theorists, and anonymous sources are not reliable sources of
        information.

        To be sure, some people have claimed that Dominion was created in Venezuela with Chinese
money to rig elections for the now-deceased Venezuelan dictator Hugo Chavez and that Dominion
rigged the 2020 U.S. Presidential Election by manipulating votes from a control room in Spain or
Germany, all as part of a decades-long international conspiracy involving George Soros, President




7
  Michael Malsmo, Disputing Trump, Barr says no widespread election fraud, Associated Press (Dec. 1,
2020),        available         at,        https://apnews.com/article/barr-no-widespread-election-fraud-
b1f1488796c9a98c4b1a9061a6c7f49d.
8
  Tucker Carlson SLAMS Sidney Powell for not Providing Evidence Election was Taken from Trump, YouTube
(Nov. 19, 2020), available at, https://www.youtube.com/watch?v=57l56J47xhk.
9
  Michael Malsmo, Disputing Trump, Barr says no widespread election fraud, Associated Press (Dec. 1,
2020),        available         at,        https://apnews.com/article/barr-no-widespread-election-fraud-
b1f1488796c9a98c4b1a9061a6c7f49d.
10
   Emma Brown, Aaron C. Davis & Alice Crites, Sidney Powell’s secret ‘military intelligence expert,’ key
to fraud claims in election lawsuits, never worked in military intelligence, Washington Post (Dec. 11, 2020),
available       at,       https://www.washingtonpost.com/investigations/sidney-powell-spider-spyder-
witness/2020/12/11/0cd567e6-3b2a-11eb-98c4-25dc9f4987e8_story.html.


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George H.W. Bush’s father, the Muslim Brotherhood, leftists, Republican state officials in Georgia,
and thousands of bipartisan local election volunteers across the United States.

        Some people will say anything for their fifteen minutes of fame. But proven liars, conspiracy
theorists, and anonymous sources are not reliable sources of information about anything—let alone
something as important as the legitimacy of American democracy. So we write to make sure there
is no dispute whatsoever that you are aware of the below information, all of which we expect you are
already aware of because it is readily available in the public domain.

        •   Sidney Powell. As detailed extensively in our December 16 letter to her (Ex. 1), Ms.
            Powell is a proven liar who has actively misrepresented and manufactured evidence and
            lied about having recordings that do not exist.

        •   Rudy Giuliani. Mr. Giuliani’s assertions about Dominion are based on what Sidney
            Powell told him. Enough said.

        •   Mellissa Carone. OANN has published the false claims of Mr. Giuliani’s star witness,
            Mellissa Carone, who notoriously went viral—in the bad way—when Mr. Giuliani had to
            “shush” her for leveling unhinged accusations at Republican officials in Michigan who
            asked her follow-up questions about her dubious claims. A judge determined that her
            accusations were “simply not credible.”11

        •   Purported “Experts” Put Forward by Sidney Powell. After Ms. Powell submitted the
            declarations of so-called “experts” in her “Kraken” litigation in Arizona, the federal judge
            observed that the attachments to Ms. Powell’s complaint were “only impressive for their
            volume” and included “expert reports” that “reach implausible conclusions, often
            because they are derived from wholly unreliable sources.” Order at 24-25, Bowyer v.
            Ducey, No. 2-20-cv-02321 (D. Ariz. Dec. 9, 2020) [Dkt. 84] (Ex. 2). Ms. Powell’s sources
            in that litigation included Harri Hursti, Alex Halderman, William Briggs, Russell
            Ramsland, and Josh Merritt aka “Spyder.”

        •   Josh Merritt aka “Spyder”. Josh Merritt, a top-secret witness code-named “Spyder” by
            Sidney Powell, knowingly signed, under penalty of perjury, an admittedly “misleading”
            declaration falsely claiming he was a “military intelligence expert” even though he has
            never worked in military intelligence and even though a spokesperson for the U.S. Army
            Intelligence Center of Excellence says he “kept washing out” of courses.12



11
   See Mich. Fraud Witness Debunks Dominion CEO Testimony, Says Poulos Falsely Denied Internet
Connection & Ballot Dumps, OANN (Dec. 16, 2020), available at https://www.oann.com/mich-fraud-
witness-debunks-dominion-ceo-testimony-says-poulos-falsely-denied-internet-connection-ballot-
dumps/; Op. & Order at 7, Constantino v. City of Detroit, No. 20-014780 (Mich. 3d Jud. Dist. Ct.
Nov. 13, 2020).
12
   Emma Brown, Aaron C. Davis & Alice Crites, Sidney Powell’s secret ‘military intelligence expert,’ key
to fraud claims in election lawsuits, never worked in military intelligence, Washington Post (Dec. 11, 2020),


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       •   Russell Ramsland. Russell Ramsland is a failed Republican congressional candidate and
           a deep-state conspiracy theorist who claimed, among other facially ludicrous and
           inherently improbable things, that George Soros, while less than 10 years old, helped
           form the “Deep State” in Nazi Germany in the 1930s—along with President George H.W.
           Bush’s father, the Muslim Brotherhood, and leftists.13 Not only has Mr. Ramsland been
           called out for referencing and citing to locations in Minnesota when alleging voter fraud
           in Michigan,14 but his report on voting results in Antrim County was deemed by Antrim
           County’s own bi-partisan election officials as “riddled with false and unsupported claims,
           baseless attacks, and incorrect use of technical terms.”15 And the former acting director
           of the Election Assistance Commission’s Voting System Testing and Certification
           program—who is actually an expert in in election voting systems—said that the report
           showed “a grave misunderstanding” of Antrim County’s voting system and “a lack of
           knowledge of election technology and process,” resulting in “a preposterous
           conclusion.”16 Proving just how baseless Mr. Ramsland’s report is, a hand recount of
           Antrim County completed on December 17, 2020 “confirmed the truth and affirmed
           the facts: Dominion’s voting machines accurately tabulated the votes cast for president
           in Antrim County.”17

       •   William Briggs and Matt Braynard. William Briggs’s claims are based on a list—
           compiled by Matt Braynard—of allegedly ineligible Georgia voters who allegedly voted
           illegally. In fact, Mr. Braynard’s list included voters who were, in fact, eligible to vote
           and was rejected by a federal judge for its “sheer unreliability.”18


available       at,      https://www.washingtonpost.com/investigations/sidney-powell-spider-spyder-
witness/2020/12/11/0cd567e6-3b2a-11eb-98c4-25dc9f4987e8_story.html.
13
   John Savage, Texas Tea Partiers Are Freaking Out Over ‘Deep State’ Conspiracy Theories, Vice (Sept.
30, 2018), available at, https://www.vice.com/en/article/mbwgxx/texas-tea-partiers-are-freaking-
out-over-deep-state-conspiracy-theories.
14
   Clara Hendrickson, Affidavit in Michigan lawsuit seeking to overturn election makes wildly inaccurate
claims       about        vote,        PolitiFact      (Dec.      4,     2020),       available      at,
https://www.politifact.com/factchecks/2020/dec/04/russell-james-ramsland-jr/affidavit-michigan-
lawsuit-seeking-overturn-electi/.
15
   See Report spreads debunked claims about Dominion machines in Michigan county, AP News (Dec. 15
2020), available at, https://apnews.com/article/fact-checking-afs:Content:9847904839.
16
   See Former election security chief for Trump knocks down Antrim County report, The Detroit Free Press
(Dec.                      16,                    2020),                   available                  at
https://www.freep.com/story/news/politics/elections/2020/12/16/antrim-county-report-
debunked-by-former-trump-election-official/3923499001/.
17
   See Trump still wins small Michigan county after hand recount, AP News (Dec. 18, 2020), available at
https://apnews.com/article/election-2020-joe-biden-donald-trump-michigan-elections-
07e52e643d682c8033a0f26b0d863387.
18
   Order at 26, Bowyer v. Ducey, No. 2-20-cv-02321 (D. Ariz. Dec. 9, 2020) [Dkt. 84] (Ex. 2); Michelle
Ye Hee Lee, Here’s what happened when a Georgia lawmaker scrutinized the Trump campaign’s list of
allegedly    illegal    votes,     Washington       Post     (Dec.   10,      2020),    available    at,


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        •   Navid Keshavarz-Nia. Navid Keshavarz-Nia’s claims about the 2020 election were
            described by then-CISA director and Trump-appointee Chris Krebs as “nonsense.” 19
            That description is bolstered by the fact that Mr. Keshavarz-Nia declared, under penalty
            of perjury, that there was a pattern of improbable vote reporting in “Edison County,
            Michigan”—a county that does not exist in the state of Michigan.

        •   Ana Mercedes Diaz Cardozo and Sidney Powell’s Anonymous Venezuelan Source
            Claiming to Have Been Selected for the “National Security Guard Detail of the
            President of Venezuela.” Above and beyond the fact that Ms. Powell’s anonymous
            Venezuelan witness refuses to publicly stand by his wild accusations of a decades-old
            international conspiracy, his explanation for why he purportedly came forward is nearly
            word-for-word identical to the explanation in the declaration signed by Ana Mercedes
            Diaz Cardozo, proving that they did not write the declarations independently.20

        •   Ronald Watkins. OANN has previously given airtime and credence to known
            conspiracy theorist Ronald Watkins, calling him a “cyber analyst.”21 Mr. Watkins is the
            33-year-old former administrator of 8chan (now 8kun) and son of Jim Watkins, who is
            widely considered to be the “Q” of QAnon22—whose proponents believe that Trump is
            battling a cabal of Satanic pedophiles that originated in a D.C. pizza parlor—and who has
            himself been accused of hosting “child porn domains.”23

        •   Joe Oltmann. Joe Oltmann is a Twitter-banned “political activist” who lives in
            Colorado, where it is perfectly legal to record your phone calls without the knowledge of
            the other people on the line. He would have people believe that he went to the trouble
            of “infiltrating Antifa” but didn’t bother to record his “conference call” with them,
            instead electing to take “notes” of a Dominion employee supposedly assuring “Antifa”
            that he would rig the election. Of course, except for that Dominion employee—who
            received death threats after OANN identified him by name to a global internet



https://www.washingtonpost.com/politics/heres-what-happened-when-a-georgia-lawmaker-
scrutinized-the-trump-campaigns-list-of-allegedly-illegal-votes/2020/12/10/1400d628-3b06-11eb-
bc68-96af0daae728_story.html.
19
   Zach Montellaro and Kyle Cheney, Pro-Trump legal crusade peppered with bizarre blunders, Politico
(Dec. 3, 2020), available at, https://www.politico.com/news/2020/12/03/sidney-powell-trump-
election-lawsuit-442472.
20
   Compare Pearson v. Kemp, No. 1:20-cv-04809 (N.D. Ga. Nov. 25, 2020) [Dkt. 1-2 at ¶ 4] with Pearson
v. Kemp, No. 1:20-cv-04809 (N.D. Ga. Nov. 25, 2020) [Dkt. 1-3 at ¶ 3].
21
   See Cyber Analyst On Dominion Voting: Shocking Vulnerabilities, OANN (Nov. 15, 2020), available at,
https://www.oann.com/cyber-analyst-on-dominion-voting-shocking-vulnerabilities/.
22
      See    The     men    behind     QAnon,       ABC        (Sept.   22,     2020),     available   at,
https://abcnews.go.com/Politics/men-qanon/story?id=73046374.
23
   See QAnon Is Supposed to Be All About Protecting Kids. Its Primary Enabler Appears to Have Hosted Child
Porn         Domains,        MotherJones         (Oct.          29,      2020),          available      at
https://www.motherjones.com/politics/2020/10/jim-watkins-child-pornography-domains/.


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           audience—Mr. Oltmann has not identified any of the other “Antifa members” who he
           claims were on the call.24

        We have no doubt that you can find other people who are upset about the results of the
election and will say anything to get on television. But OANN’s job—as a media organization—is to
vet the credibility of sources before relying on them and publishing their claims to a global internet
audience, especially when—as here—their claims put people’s lives in danger, are inherently
improbable, and have already been conclusively debunked by a mountain of paper ballots, bipartisan
public servants, election volunteers, and people who actually have expertise in election security.

IV.    OANN recklessly disregarded the truth, evidence, and reliable sources when it pursued a
       preconceived narrative and published the inherently improbable and debunked claims of
       facially unreliable sources.

        In reckless disregard of the evidence and facts set forth above—which are readily available in
the public domain—OANN set out to make the facts conform to the false, preconceived (and
profitable) narrative that the election was illegitimate. It then repeatedly published the inherently
improbable and debunked claims of facially unreliable sources, recklessly disregarding that those
statements were false and that publishing them would endanger Dominion’s business and the lives
of its employees.

        OANN did not simply publish the claims of its facially unreliable sources; it adopted their
claims as its own and held them out as credible, both through the words of OANN personalities
themselves and through the title “Dominion-izing the Vote,” which falsely conveys that Dominion
had tampered with and rigged the vote. 25

         In so doing, OANN acted with actual malice. See St. Amant v. Thompson, 390 U.S. 727, 732
(1968) (the publication of allegations that are “inherently improbable” is strong evidence of actual
malice); Lohrenz v. Donnelly, 223 F. Supp. 2d 25, 46 (D.D.C. 2002), aff'd, 350 F.3d 1272 (D.C. Cir.
2003) (“evidence that the story was so inherently improbable that only a reckless person would have
put it in circulation” is “likely [to] support a finding of actual malice”); St. Amant, 390 U.S. at 732
(“[R]ecklessness may be found where there are obvious reasons to doubt the veracity of the
informant.”); Wells v. Liddy, 186 F.3d 505, 542-43 (4th Cir. 1999) (actual malice may be shown where
publisher had reason to believe a source might not be credible); Jankovic v. Int’l Crisis Grp., 822 F.3d
576, 590 (D.C. Cir. 2016) (relying on a facially unreliable source is evidence of actual malice);
Dongguk Univ. v. Yale Univ., 734 F.3d 113, 124 (2d Cir. 2013) (“‘evidence of an intent to avoid the
truth ... [can be] sufficient to satisfy the [actual malice standard]’”) (quoting Harte-Hanks Commc’ns,
Inc. v. Connaughton, 491 U.S. 657, 693 (1989)); Parsi v. Daioleslam, 595 F. Supp. 2d 99, 106 (D.D.C.
2009) (“Purposeful avoidance of truth can constitute actual malice”); Harris v. City of Seattle, 152 F.

24
   See Dominion Executive: Trump Is Not Going To Win. I Made F***Ing Sure Of That, OANN (Nov. 24,
2020), available at https://www.oann.com/dominion-executive-trump-is-not-going-to-win-i-made-
fing-sure-of-that/.
25
        See       Dominion-izing     The       Vote,      YouTube        (Nov.      21,    2020)
https://www.youtube.com/watch?v=746HTjhFifA


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App’x 565, 568 (9th Cir. 2005) (quoting 1 Rodney Smolla, Law of Defamation § 3:71 (2d ed.))
(“[E]vidence that a defendant conceived a story line in advance of an investigation and then
consciously set out to make the evidence conform to the preconceived story is evidence of actual
malice, and may often prove to be quite powerful evidence.”); Brown v. Petrolite Corp., 965 F.2d 38,
47 (5th Cir. 1992) (financial motive is evidence of actual malice).

        We therefore demand, pursuant to all applicable law, that OANN retract the falsehoods
identified in this letter that were published by OANN in the following broadcasts:

               •       Clinton Ties To Dominion Voting System, Which ‘Glitched’ For Biden (Nov. 11,
                       2020), available at https://www.oann.com/clinton-ties-to-dominion-voting-
                       system-which-glitched-for-biden/;
               •       Cyber Analyst On Dominion Voting: Shocking Vulnerabilities (Nov. 15, 2020),
                       available at https://www.oann.com/cyber-analyst-on-dominion-voting-
                       shocking-vulnerabilities/;
               •       Dominion Scandal Goes Worldwide With Michael Johns (Nov. 18, 2020), available
                       at https://www.oann.com/dominion-scandal-goes-worldwide-with-michael-
                       johns/;
               •       Dominion Voting Systems Under Scrutiny For Security (Nov. 18, 2020), available
                       at      https://www.oann.com/dominion-voting-systems-under-scrutiny-for-
                       security/.
               •       Dominion Executive: Trump Is Not Going To Win. I Made F***Ing Sure Of That
                       (Nov. 24, 2020), available at https://www.oann.com/dominion-executive-
                       trump-is-not-going-to-win-i-made-fing-sure-of-that/;
               •       Reports: Ga. Gov. Kemp Awarded Dominion Voting Contract After Meeting With
                       Chinese Consulate Official In Atlanta (Dec. 10, 2020), available at
                       https://www.oann.com/reports-ga-gov-kemp-awarded-dominion-voting-
                       contract-after-meeting-with-chinese-consulate-official-in-atlanta/;
               •       Mich. Fraud Witness Debunks Dominion CEO Testimony, Says Poulos Falsely
                       Denied Internet Connection & Ballot Dumps (Dec. 16, 2020), available at
                       https://www.oann.com/mich-fraud-witness-debunks-dominion-ceo-
                       testimony-says-poulos-falsely-denied-internet-connection-ballot-dumps/; and
               •       Dominion Falsely Claims QR Codes Protect Against Fraud (Dec. 16, 2020),
                       available    at     https://www.oann.com/dominion-falsely-claims-qr-codes-
                       protect-against-fraud/.
               •       Dominion-izing’ the Vote with Chanel Rion (Nov. 21, 2020), available at
                       https://www.youtube.com/watch?v=746HTjhFifA.
        A refusal to retract these defamatory falsehoods will be viewed as additional evidence of
actual malice. See Zerangue v. TSP Newspapers, Inc., 814 F.2d 1066, 1071 (5th Cir. 1987) (“[r]efusal
to retract an exposed error tends to support a finding of actual malice.”).



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V.      Going forward, if OANN repeats or republishes any of the falsehoods identified in this
        letter, there will be no question that it is doing so with actual knowledge that those
        statements are false.

         As a media organization, we expect that you were already well aware of the facts set forth in
this letter, which are readily available in the public domain. Now that we have sent you this letter,
there can be no dispute that you are in full possession of the facts. As such, if OANN elects to repeat
or republish any of the falsehoods identified in this letter—whether in tomorrow’s “exclusive
investigation” or otherwise—it will be doing so with actual knowledge that those statements are false.

                                           *       *        *

       We expect that OANN will treat this matter with the seriousness it deserves. Indeed, OANN
has made it very clear that it believes that libel suits play an important role in holding the media
accountable—and that when a member of the media commits “false and malicious libel,” they should
“answer for it in a court of law.”26 We could not agree more.

        Until these claims are resolved, please ensure that you preserve and retain all emails, text
messages, audiovisual recordings, voice mails, drafts, notes, communications, documents, data, and
electronically stored information of any kind that relates in any way to these matters. Please confirm
receipt of this letter and that you intend to adhere to our request to retain documents as set forth
above.

        This is not a complete recitation of our client’s rights and remedies, all of which are expressly
reserved.

        We look forward to your prompt response.

                                                         Regards,




                                                         Thomas. A. Clare, P.C.



                                                         Megan L. Meier



Enclosures


26
  One America News Fires Back Against Rachel Maddow, MSNBC And Comcast With A Defamation
Lawsuit, OANN (Sept. 9, 2019), available at https://www.oann.com/rachel-maddow-lawsuit/.


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                Exhibit 2
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 1   WO
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 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9    Tyler Bowyer, et al.,                              No. CV-20-02321-PHX-DJH
10                  Plaintiffs,                          ORDER
11    v.
12    Doug Ducey, et al.,
13                  Defendants.
14
15          Plaintiffs bring their Complaint seeking injunctive relief from this Court,
16   specifically, to “set aside the results of the 2020 General Election,” because they claim the

17   election process and results were “so riddled with fraud, illegality and statistical
18   impossibility . . . that Arizona voters, courts and legislators cannot rely on or certify” its

19   results. (Doc. 1 at 2). By any measure, the relief Plaintiffs seek is extraordinary. If granted,

20   millions of Arizonans who exercised their individual right to vote in the 2020 General
21   Election would be utterly disenfranchised. Such a request should then be accompanied by
22   clear and conclusive facts to support the alleged “egregious range of conduct in Maricopa

23   County and other Arizona counties . . . at the direction of Arizona state election officials.”

24   (Id.) Yet the Complaint’s allegations are sorely wanting of relevant or reliable evidence,

25   and Plaintiffs’ invocation of this Court’s limited jurisdiction is severely strained.

26   Therefore, for the reasons stated herein, the Complaint shall be dismissed.
27   I.     Background
28          In Arizona, more than 3.4 million voters participated in the November 3, 2020,
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 1   General Election. Thereafter, pursuant to A.R.S. § 16-602, several counties performed a
 2   hand count of sample ballots to test the tabulation equipment, and either no discrepancies
 3   were found or, if there were, they were “within the acceptable margin.”1 Arizona law also
 4   requires the secretary of state, in the governor’s presence, to certify the statewide canvas
 5   on the fourth Monday after a general election. A.R.S. § 16-648. On November 30, 2020,
 6   Secretary of State Katie Hobbs, in the presence of Governor Doug Ducey, certified the
 7   statewide canvas. (Doc. 40 at 4). The Canvas shows that former Vice President Joseph
 8   Biden prevailed over President Donald Trump by more than ten thousand votes.2 On that
 9   same day, Governor Ducey signed the Certificate of Ascertainment for Vice President
10   Biden’s presidential electors. (Doc. 40 at 4). The Certificate was then transmitted to the
11   United States Archivist pursuant to the Electoral Count Act. (Id.); see also 3 U.S.C. § 6.
12          In their Complaint and the accompanying Motion for Temporary Restraining Order
13   (“TRO”) filed on December 2, Plaintiffs “contest” the election and ask this Court to compel
14   the Governor to “de-certify” these results. (Docs. 1 ¶ 145; 2 at 10). The Complaint also
15   requests that this Court grant a permanent injunction “enjoining Secretary Hobbs and
16   Governor Ducey from transmitting the currently certified election results to the Electoral
17   College,” declare the election results unconstitutional, and seize all voting machines,
18   equipment, software, and other election-related records and materials, including all ballots
19   cast.3 (Doc. 1 at 51–52). The Complaint claims to show “multifaceted schemes and
20   artifices implemented by Defendants and their collaborators” to defraud the election. (Id.
21   at ¶ 3). And these schemes allegedly resulted in “the unlawful counting, or fabrication, of
22   hundreds of thousands of illegal, ineligible, duplicate or purely fictitious ballots.” (Id.)
23   1
      Ariz. Sec’y of State, Summary of Hand Count Audits–2020 General Election (Nov. 17,
24   2020), https://azsos.gov/election/2020-general-election-hand-count-results.

25
     2
      Ariz.     Sec’y      of     State,      State   of     Arizona    Official          Canvass,
     https://azsos.gov/sites/default/files/2020_General_State_Canvass.pdf.
26   3
       Under 3 U.S.C. § 5, if a state enacts and applies procedures to decide election
27   controversies before election day, and a decision regarding a contested election is made at
     least six days before the electors’ meetings, then the decision is conclusive and will apply
     in counting the electoral votes. That deadline, referred to as the “safe harbor” deadline,
28   was December 8, 2020, as the Electoral College will meet on December 14, 2020. See 3
     U.S.C. § 7.

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 1          Of the fourteen named Plaintiffs, three are registered voters and GOP Chairs for
 2   various Arizona counties. (Id. at ¶¶ 29–31). The remaining eleven are Republican
 3   nominees for Arizona’s presidential electors. (Id. at ¶ 28). One of the eleven, Dr. Kelli
 4   Ward, filed suit in state-court over allegations of fraud in this election. See Ward v.
 5   Jackson, Case No. CV2020-015285, slip. op. (Ariz. Super. Ct. Dec. 4, 2020) (finding no
 6   evidence of alleged fraud and dismissing claims of election misconduct); (Doc. 55-1). In
 7   that case, on December 8, 2020, the Arizona Supreme Court affirmed the Maricopa County
 8   Superior Court’s findings that there was no evidence of fraud or misconduct in Arizona’s
 9   election. (Ward v. Jackson, CV2020-015285 (Ariz. 2020); (Doc. 81-1).
10          Plaintiffs’ Complaint contains four counts, three of which assert 42 U.S.C. § 1983
11   claims for violations of the Constitution’s Elections and Electors Clauses, as well as the
12   Fourteenth Amendment’s Due Process and Equal Protection guarantees. (Doc. 1 ¶¶ 103–
13   34). The final count, which does not specify a cause of action, is for “Wide-Spread Ballot
14   Fraud.” (Id. at ¶¶ 135–41).
15          On December 3, the day after Plaintiffs filed their Complaint, the Court received a
16   Motion to Intervene from the Arizona Democratic Party, which was subsequently denied.4
17   (Docs. 26 and 69). The Court also received a Motion to Intervene from the Maricopa
18   County Board of Supervisors and Maricopa County Recorder Adrian Fontes, which was
19   granted. (Docs. 27 and 32). The Court held a status conference on the same day, in which
20   it scheduled a December 8 hearing on the TRO. (Doc. 28). By subsequent Order (Doc.
21   43), the Court converted that hearing to oral argument on the Motions to Dismiss filed on
22   December 4. (Docs. 36, 38, and 40). Plaintiffs have filed their Response to the Motions
23   (Doc. 44), and Defendants have filed their Replies. (Docs. 53, 54, and 55). On December
24   8, 2020, the Court held oral argument on the Motions to Dismiss and took this matter under
25   advisement. Being fully briefed on the matter, the Court now issues its ruling.
26   …
27
     4
      The Arizona Democratic Party sought intervention under theories of permissive joinder.
28   While the Court did not believe the Motion was inappropriate, the Court did not find their
     presence necessary to this lawsuit and therefore denied the Motion to Intervene.

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 1   II.    Analysis
 2          Given the import of the overarching subject—a United States Presidential
 3   Election—to the citizens of Arizona, and to the named Plaintiffs, the Court is compelled to
 4   make clear why it finds it inappropriate to reach the merits of Plaintiffs’ Complaint and
 5   why it must grant the Motions to Dismiss this matter in its entirety. The Court will
 6   endeavor to lay bare the independent reasons for its conclusions, including those related to
 7   Article III standing, abstention, laches, mootness, and the federal pleading standards, which
 8   govern its review.
 9          A.     Article III Standing
10          “To ensure that the Federal Judiciary respects the proper—and properly limited—
11   role of the courts in a democratic society, a plaintiff may not invoke federal-court
12   jurisdiction unless he can show a personal stake in the outcome of the controversy.” Gill
13   v. Whitford, 138 S. Ct. 1916, 1929 (2018) (internal citations omitted). Article III provides
14   that federal courts may only exercise judicial power in the context of “cases” and
15   “controversies.” U.S. Const. art. III, § 2, cl. 1; Lujan v. Defs. of Wildlife, 504 U.S. 555,
16   559 (1992). For there to be a case or controversy, the plaintiff must have standing to sue.
17   Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (“Spokeo II”). Whether a plaintiff
18   has standing presents a “threshold question in every federal case [because it determines]
19   the power of the court to entertain the suit.” Warth v. Seldin, 422 U.S. 490, 498 (1975).
20   “No principle is more fundamental to the judiciary’s proper role in our system of
21   government than the constitutional limitation of federal-court jurisdiction to actual cases
22   or controversies.” DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 341 (2006). A suit
23   brought by a plaintiff without Article III standing is not a “case or controversy,” and an
24   Article III federal court therefore lacks subject matter jurisdiction. Steel Co. v. Citizens for
25   a Better Environment, 523 U.S. 83, 101 (1998).
26          “[A] plaintiff seeking relief in federal court must first demonstrate . . . a personal
27   stake in the outcome,” Baker v. Carr, 369 U.S. 186, 204 (1962), distinct from a “generally
28   available grievance about government,” Lance v. Coffman, 549 U.S. 437, 439 (2007) (per


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 1   curiam). “That threshold requirement ensures that we act as judges, and do not engage in
 2   policymaking properly left to elected representatives.” Gill, 138 S. Ct. at 1923. To
 3   establish standing, a plaintiff has the burden of clearly demonstrating that she has: “(1)
 4   suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of the
 5   defendant, and (3) that is likely to be redressed by a favorable judicial decision.” Spokeo
 6   II, 136 S. Ct. at 1547 (quoting Warth, 422 U.S. at 518); accord Kokkonen v. Guardian Life
 7   Ins. Co. of Am., 511 U.S. 375, 377 (1994) (noting the party asserting jurisdiction bears the
 8   burden of establishing subject matter jurisdiction on a Rule 12(b)(1) motion to dismiss).
 9          To establish an injury in fact, “a plaintiff must show that he or she suffered ‘an
10   invasion of a legally protected interest’ that is ‘concrete and particularized’ and ‘actual or
11   imminent, not conjectural or hypothetical.’” Spokeo, 136 S. Ct. at 1548 (quoting Lujan,
12   504 U.S. at 560). “When we have used the adjective ‘concrete, we have meant to convey
13   the usual meaning of the term—‘real,’ and not ‘abstract.’” Id. The plaintiff must establish
14   a “particularized” injury, which means that “the injury must affect the plaintiff in a personal
15   and individual way.” Raines v. Byrd, 521 U.S. 811, 819 (1997). Moreover, “[a]lthough
16   imminence is concededly a somewhat elastic concept, it cannot be stretched beyond its
17   purpose, which is to ensure that the alleged injury is not too speculative for Article III
18   purposes—that the injury is certainly impending.” Clapper v. Amnesty Int’l USA, 568 U.S.
19   398, 409 (2013). Where a plaintiff has not established the elements of standing, the case
20   must be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(1).
21          Rule 12(b)(1) authorizes a court to dismiss claims over which it lacks subject-matter
22   jurisdiction. A Rule 12(b)(1) challenge may be either facial or factual. Safe Air for
23   Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). In a facial attack, the court may
24   dismiss a complaint when the allegations of and documents attached to the complaint are
25   insufficient to confer subject-matter jurisdiction. See Savage v. Glendale Union High Sch.
26   Dist. No. 205, 343 F.3d 1036, 1039 n.2 (9th Cir. 2003). In this context, all allegations of
27   material fact are taken as true and construed in the light most favorable to the nonmoving
28   party. Fed’n of African Am. Contractors v. City of Oakland, 96 F.3d 1204, 1207 (9th Cir.


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 1   1996). In contrast, when a court evaluates a factual challenge to jurisdiction, a court is
 2   “free to weigh the evidence and satisfy itself as to the existence of its power to hear the
 3   case.”    Safe Air for Everyone, 373 F.3d at 1039 (“In resolving a factual attack on
 4   jurisdiction, the district court may review evidence beyond the complaint without
 5   converting the motion to dismiss into a motion for summary judgment.”).
 6                  1.     Elections and Electors Clause – Count One
 7            Plaintiffs allege in Count One that Defendants violated the Elections and Electors
 8   Clauses and 28 U.S.C. § 1983 by, among other things, losing or destroying absentee ballots,
 9   and/or replacing those ballots with “blank ballots filled out by election workers, Dominion
10   or other third parties” sending thousands of absentee ballots to someone besides the
11   registered voter that “could have been filled out by anyone.” (Doc. 1 at 41). Defendants
12   argue that Plaintiffs do not have standing to assert such a claim. (Doc. 40 at 8–9).
13            The Elections Clause of the United States Constitution states: “The Times, Places
14   and Manner of holding Elections for Senators and Representatives, shall be prescribed in
15   each State by the Legislature thereof[.]” U.S. Const. art. I, § 4, cl. 1. The Elections Clause
16   authorizes the state governments to regulate federal elections held in the state, while
17   Congress retains “exclusive control” to alter a state’s regulations. Colegrove v. Green, 328
18   U.S. 549, 554 (1946). A separate provision, the “Electors Clause” of the Constitution,
19   states: “Each State shall appoint, in such Manner as the Legislature thereof may direct, a
20   Number of Electors . . . .” U.S. Const. art. II, § 1, cl. 2.5
21            Plaintiffs’ Complaint alleges that Defendants violated the Elections Clause.
22   However, the Complaint does not allege grounds for standing to assert this claim, nor does
23   it distinguish between the status of the groups of Plaintiffs. At oral argument, Plaintiffs’
24
     5
25     While the Electors Clause and Elections Clause are separate Constitutional provisions,
     they share “considerable similarity.” Ariz. State Leg. v. Ariz. Indep. Redistricting Comm’n,
26   576 U.S. 787, 839, (2015) (Roberts, C.J., dissenting). These provisions are therefore often
     considered together. See Bognet v. Sec’y of Commonwealth of Pa., 980 F.3d 336, 348–52
27   (3d Cir. 2020) (analyzing standing for Elections Clause and Electors Clause under the same
     test); Wood v. Raffensperger, 2020 WL 6817513, at *1 (N.D. Ga. Nov. 20, 2020) (same);
     U.S. Term Limits, Inc. v. Thornton, 514 U.S. 779, 804–05 (1995) (holding that state’s
28   “duty” under Elections Clause “parallels the duty” described by Electors Clause). Plaintiffs
     do not meaningfully distinguish between the two clauses in their Complaint or briefing.

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 1   counsel stated that eleven of the Plaintiffs were Republican Party nominees to be electors,
 2   and the other three were county GOP Chairs. As an initial matter, Plaintiffs’ briefing does
 3   not contain any arguments that the GOP Chairs have standing to assert this claim and the
 4   Court will dismiss the claim as to the GOP Chairs outright.
 5          Plaintiffs argue that the Plaintiff Electors should be considered “candidates,” and
 6   thus that they have standing under the Electors and Elections Clause pursuant to an Eighth
 7   Circuit case, Carson v. Simon, 978 F.3d 1051 (8th Cir. 2020). (Doc. 44 at 5). That case,
 8   which is based on the operation of Minnesota state election law, allowed electors to bring
 9   claims under the Elections Clause because electors were treated as candidates for office
10   under Minnesota law and thus would be injured by the governor’s failure to seat them if
11   chosen as the state’s electors. See Carson, 978 F.3d at 1057.
12          Plaintiff Electors likewise assert that under Arizona law they should also be
13   considered “candidates.” (Doc. 44 at 5–6) (citing A.R.S. § 16-344). However, the Electors
14   are not candidates for office as the term is generally understood. Arizona law makes clear
15   that the duty of an Elector is to fulfill a ministerial function, which is extremely limited in
16   scope and duration, and that they have no discretion to deviate at all from the duties
17   imposed by the statute. See A.R.S. § 16-212(C) (“After the secretary of state issues the
18   statewide canvass containing the results of a presidential election, the presidential electors
19   of this state shall cast their electoral college votes for the candidate for president and the
20   candidate for vice president who jointly received the highest number of votes in this state
21   as prescribed in the canvass.”) (emphasis added). Arizona voters do not show up to vote
22   for any single Electors listed next to the presidential candidates’ names; they vote for their
23   preferred presidential candidate. By specifying that the electors “shall be enclosed in a
24   bracketed list” next to “the surname of the presidential candidate and vice-presidential
25   candidate,” A.R.S. § 16-507(B) clarifies and distinguishes the Electors’ ministerial status
26   from that of the presidential candidate running for office, the latter who unquestionably
27   suffers the discrete injury required for standing.6 Notably, the Republican candidate whose
28   6
       A.R.S. § 16-507(B) in its entirety reads: “Presidential electors, which, shall be enclosed
     in a bracketed list and next to the bracketed list shall be printed in bold type the surname

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 1   name was on the ballot is not a plaintiff in this case.
 2          Other circuit courts to reach the issue have cited the Carson decision with
 3   disapproval, noting that there was no precedent for expanding standing in the way that it
 4   did.7 See Bognet v. Sec’y of Commonwealth of Pa., 980 F.3d 336, 351 n.6 (3d Cir. 2020)
 5   (“Our conclusion departs from the recent decision of an Eighth Circuit panel which, over
 6   a dissent, concluded that candidates for the position of presidential elector had standing
 7   under Bond [v. United States, 564 U.S. 211 (2011)] to challenge a Minnesota state-court
 8   consent decree that effectively extended the receipt deadline for mailed ballots. . . . The
 9   Carson court appears to have cited language from Bond without considering the context—
10   specifically, the Tenth Amendment and the reserved police powers—in which the U.S.
11   Supreme Court employed that language. There is no precedent for expanding Bond beyond
12   this context, and the Carson court cited none.”). Indeed, as numerous other courts have
13   held, where, as here, the injury alleged by plaintiffs is that defendants failed to follow the
14   Elections Clause, the Supreme Court has stated that the “injury is precisely the kind of
15   undifferentiated, generalized grievance about the conduct of government that [courts] have
16   refused to countenance.” Lance, 549 U.S. at 442.
17          Elector Plaintiffs have not established they can personally bring suit, and therefore,
18   they do not have standing to bring Count One.8 Therefore, the Court will dismiss Count
19   of the presidential candidate and vice-presidential candidate who is seeking election jointly
     with the presidential candidate shall be listed directly below the name of the presidential
20   candidate. The indicator for the selection of the presidential and vice-presidential
     candidates shall be directly next to the surname of the presidential candidate, and one mark
21   directly next to a presidential candidate’s surname shall be counted as a vote for each
     elector in the bracketed list next to the presidential and vice-presidential candidates.”
22
     7
       See also Carson, 78 F.3d at 1063 (Kelly, J., dissenting) (“I am not convinced the Electors
23   have Article III standing to assert claims under the Electors Clause. Although Minnesota
     law at times refers to them as ‘candidates,’ see, e.g., Minn. Stat. § 204B.03 (2020), the
24   Electors are not candidates for public office as that term is commonly understood. Whether
     they ultimately assume the office of elector depends entirely on the outcome of the state
25   popular vote for president. Id. § 208.04 subdiv. 1 (‘[A] vote cast for the party candidates
     for president and vice president shall be deemed a vote for that party’s electors.’). They are
26   not presented to and chosen by the voting public for their office, but instead automatically
     assume that office based on the public’s selection of entirely different individuals.”).
27
     8
      The Court notes that Count One of the Complaint makes passing references to the “VRA
28   and HAVA,” (the Voting Rights Act and the Help America Vote Act of 2002) but does not
     bring any claims under these statutes. (Doc. 1 ¶ 106).

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 1   One.
 2                 2.     Vote Dilution – Count Two
 3          In Count Two, Plaintiffs allege Equal Protection violations based on Defendants’
 4   failure to comply with Arizona law by permitting “illegal votes,” allowing “voting fraud
 5   and manipulation,” and in preventing “actual observation and access to the elector
 6   process,” which allegedly resulted in “the dilution of lawful votes . . . and the counting of
 7   unlawful votes.” (Doc. 1 at 45). Plaintiffs ask the Court to order that “no ballot processed
 8   by a counting board in Arizona can be included in the final vote tally unless a challenger
 9   [i]s allowed to meaningfully observe the process.” (Doc 1 ¶ 120). Absent from the
10   Complaint is an allegation that Plaintiffs (or any registered Arizona voter for that matter)
11   were deprived of their right to vote. Instead, they bring baseless claims of “disparate
12   treatment of Arizona voters, in subjecting one class of voters to greater burdens or scrutiny
13   than another.” (Doc. 1 ¶ 115). They do not allege what “class” of voters were treated
14   disparately. Nor do the Elector Plaintiffs cite to any authority that they, as “elector
15   delegates,” are a class of protected voters. Defendants contend that Plaintiffs do not have
16   standing to assert these claims and point out that these allegations are nothing more than
17   generalized grievances that any one of the 3.4 million Arizonans who voted could make if
18   they were so allowed. The Court agrees.
19          Here, Plaintiffs have not alleged a concrete harm that would allow the Court to find
20   Article III Standing for their vote dilution claim. As courts have routinely explained, vote
21   dilution is a very specific claim that involves votes being weighed differently and cannot
22   be used generally to allege voter fraud.            “Contrary to the Voter Plaintiffs’
23   conceptualization, vote dilution under the Equal Protection Clause is concerned with votes
24   being weighed differently.” Bognet, 980 F.3d at 355; see also Rucho v. Common Cause, –
25   –– U.S. ––––, 139 S. Ct. 2484, 2501 (2019) (“[V]ote dilution in the one-person, one-vote
26   cases refers to the idea that each vote must carry equal weight.”). “This conceptualization
27   of vote dilution—state actors counting ballots in violation of state election law—is not a
28   concrete harm under the Equal Protection Clause of the Fourteenth Amendment. Violation


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 1   of state election laws by state officials or other unidentified third parties is not always
 2   amenable to a federal constitutional claim.” Bognet, 980 F.3d at 355; see also Shipley v.
 3   Chicago Bd. of Election Comm’rs, 947 F.3d 1056, 1062 (7th Cir. 2020) (“A deliberate
 4   violation of state election laws by state election officials does not transgress against the
 5   Constitution.”); Powell v. Power, 436 F.2d 84, 88 (2d Cir. 1970) (rejecting Equal
 6   Protection claim where allegations of state’s erroneous counting of votes cast by voters
 7   unqualified to participate).
 8          Additionally, Plaintiffs cannot sustain their Equal Protection Clause claim on a vote
 9   dilution theory. See Bognet, 980 F.3d at 355 (rejecting Equal Protection theory and
10   explaining “[t]his conceptualization of vote dilution—state actors counting ballots in
11   violation of state election law—is not a concrete harm under the Equal Protection Clause
12   of the Fourteenth Amendment”); see also Shipley, 947 F.3d at 1062 (“A deliberate violation
13   of state election laws by state election officials does not transgress against the
14   Constitution”) (internal citations omitted); Am. Civil Rights Union v. Martinez-Rivera, 166
15   F. Supp. 3d 779, 789 (W.D. Tex. 2015) (holding that allegations of “vote dilution” as a
16   result of alleged voting process irregulates “[are] speculative and, as such, are more akin
17   to a generalized grievance about the government than an injury in fact.”); Powell, 436 F.2d
18   at 88 (rejecting Equal Protection Clause claim arising from state’s erroneous counting of
19   votes cast by voters unqualified to participate in closed primary); Snowden v. Hughes, 321
20   U.S. 1, 11 (1944) (“It was not intended by the Fourteenth Amendment . . . that all matters
21   formerly within the exclusive cognizance of the states should become matters of national
22   concern.”).
23          Setting aside that Plaintiffs’ claims regarding the election are not viable vote
24   dilution claims, Plaintiffs also have not requested relief that is redressable in a tailored way
25   as is required. See Gill, 138 S. Ct. at 1934 (“A plaintiff’s remedy must be tailored to redress
26   the plaintiff’s particular injury.”); see also Lewis v. Casey, 518 U.S. 343, 357 (1996) (“The
27   remedy must of course be limited to the inadequacy that produced the injury in fact that
28   the plaintiff has established.”). Therefore, even if Plaintiffs could somehow establish that


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 1   their vote dilution claim was more than a generalized grievance to the point of asserting an
 2   injury, Plaintiffs have not established that the Court can redress this grievance. To give
 3   Plaintiffs the relief they desire would disenfranchise the nearly 3.4 million Arizonans that
 4   voted in the 2020 General Election. Under Plaintiffs’ theory of dilution, this would
 5   transform all of the alleged diluted votes from being “diluted” to being destroyed. As
 6   Plaintiffs raise “only a generally available grievance about government—claiming only
 7   harm to his and every citizen’s interest in proper application of the Constitution and laws,
 8   and seeking relief that no more directly and tangibly benefits him than it does the public at
 9   large,” the Court finds that Plaintiffs’ Count Two “does not state an Article III case or
10   controversy.” See Lance, 549 U.S. 437 at 439. Therefore, Plaintiffs do not have standing
11   to bring suit in this forum.9
12          B.     Abstention
13          Defendants also argue the Court should abstain from reaching Plaintiffs’ claims
14   based on their similarities with ongoing state court cases. Yesterday, the Arizona Supreme
15   Court ruled on one such case—filed by Dr. Kelli Ward—seeking to “set aside the 2020
16   General Election results.” See Ward, CV 2020-015285 (Ariz. 2020); (Doc. 81-1). That
17   case was filed pursuant to A.R.S. § 16-672 and was also filed after Governor Ducey
18   certified the election results on November 30, 2020. (Doc. 58-1 at 17). The Ward plaintiffs
19   alleged an insufficient opportunity to observe election officials, an overcounting of mail-
20   in ballots by not adequately comparing signatures on the ballot envelopes, and errors in the
21   ballot duplication process. (Id. at 17–21). After an evidentiary hearing, the Maricopa
22   County Superior Court issued a ruling on December 4, 2020, finding that there was no
23   misconduct, fraud, or effect on the outcome of the election. 10 (Id.) This ruling was
24   9
       Having established that the Court does not have jurisdiction over Plaintiffs’ Counts One
25   through Three, the Court will decline to exercise supplemental jurisdiction over Count
     Four, which pleads no federal cause of action and is entirely based on alleged fraud under
26   Arizona law.

27
     10
        Judge Randall H. Warner of the Maricopa County Superior Court addressed Ward’s
     allegations of election misconduct. First, Ward argued that there was an insufficient
     opportunity to observe the actions of election officials. The State Court dismissed that
28   claim as untimely, holding that “[t]he observation procedures for the November general
     election were materially the same as for the August primary election, and any objection to

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 1   unanimously affirmed by an en banc panel of the Arizona Supreme Court on expedited
 2   review.11
 3          Here, Plaintiffs’ Complaint similarly relies upon A.R.S. § 16-672 and its provisions
 4   related to bringing suit for alleged election misconduct, including illegal votes and
 5   erroneous counting. (Doc. 1 at ¶ 15). A.R.S. § 16-672 also provides that an elections
 6   contest brought under this statute should be filed in the superior court of the county in
 7   which the person contesting resides or in the superior court of Maricopa county. A.R.S. §
 8   16-672(B). Plaintiffs aver that their claims seek federal action under federal statutes, and
 9   therefore, their claims are distinguishable from the claims being litigated in the state court.
10   The Court disagrees.
11          Generally, a federal court has a duty to exercise the jurisdiction conferred by
12   Congress. However, under certain circumstances, it is prudent for a federal court to abstain
13   from hearing a matter. “Indeed, we have held that federal courts may decline to exercise
14   its jurisdiction, in otherwise ‘exceptional circumstances,’ where denying a federal forum
15   would clearly serve an important countervailing interest.” Quackenbush v. Allstate Ins.
16
     them should have been brought at a time when any legal deficiencies could have been
17   cured,” and citing Lubin v. Thomas, 144 P.3d 510, 511 (Ariz. 2006) (“In the context of
     election matters, the laches doctrine seeks to prevent dilatory conduct and will bar a claim
18   if a party’s unreasonable delay prejudices the opposing party or the administration of
     justice.”). Second, Ward alleged that “election officials overcounted mail-in ballots by not
19   being sufficiently skeptical in their comparison of signatures on the mail-in
     envelope/affidavits with signatures on file.” The state court allowed Ward to examine a
20   sampling of mail-in ballots, and the court held that “[t]he evidence does not show that these
     affidavits are fraudulent, or that someone other than the voter signed them. There is no
21   evidence that the manner in which signatures were reviewed was designed to benefit one
     candidate or another, or that there was any misconduct, impropriety, or violation of Arizona
22   law with respect to the review of mail-in ballots.” Lastly, Ward alleged errors with
     duplication of ballots. The state court also allowed Ward to examine a sampling of
23   duplicate ballots and held that ‘[t]he duplication process prescribed by the Legislature
     necessarily requires manual action and human judgment, which entail a risk of human
24   error. Despite that, the duplication process for the presidential election was 99.45%
     accurate. And there is no evidence that the inaccuracies were intentional or part of a
25   fraudulent scheme. They were mistakes. And given both the small number of duplicate
     ballots and the low error rate, the evidence does not show any impact on the outcome.”
26   The state court concluded by holding that “[t]he Court finds no misconduct, no fraud, and
     no effect on the outcome of the election.” Ward, CV 2020-015285 (Ariz. Super. Ct. Dec.
     4, 2020); (Doc. 58-1).
27
     11
       “The Court concludes, unanimously, that the trial judge did not abuse his discretion in
28   denying the request to continue the hearing and permit additional inspection of the ballots.”
     Ward, CV 2020-015285, at *7 (Ariz. 2020); (Doc. 81-1).

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 1   Co., 517 U.S. 706, 716 (1996) (citing County of Allegheny v. Frank Mashuda Co., 360 U.S.
 2   185, 189 (1959)). Abstention may be “warranted by considerations of proper constitutional
 3   adjudication, regard for federal-state relations, or wise judicial administration.”         Id.
 4   Colorado River abstention permits a federal court to abstain from exercising jurisdiction
 5   over a matter in deference to a state court suit regarding similar claims and allegations.
 6   Colorado River Water Conservation District v. United States, 424 U.S. 800, 813, 817
 7   (1976).
 8            The Ninth Circuit has enumerated an eight-part test for whether Colorado River
 9   abstention is warranted, stressing that the factors are “not a mechanical checklist,” with
10   some factors that “may not have any applicability to a case.” Seneca Ins. Co., Inc. v.
11   Strange Land, Inc., 862 F.3d 835, 841–42 (9th Cir. 2017). The factors are: (1) which court
12   first assumed jurisdiction over any property at stake; (2) the inconvenience of the federal
13   forum; (3) the desire to avoid piecemeal litigation; (4) the order in which the forums
14   obtained jurisdiction; (5) whether federal law or state law provides the rule of decision on
15   the merits; (6) whether the state court proceedings can adequately protect the rights of the
16   federal litigants; (7) the desire to avoid forum shopping; and (8) whether the state court
17   proceedings will resolve all issues before the federal court. Id.
18            Factors two through seven all support abstaining from this case.12 To begin, this
19   federal forum is less convenient than the state forum, considering the state election law
20   violations alleged, the claims are brought against state actors, and the interplay of state
21   election law. Moreover, the present suit reflects the very essence of “piecemeal litigation,”
22   with many of the same parties and attorneys litigating related matters in both forums. As
23   to the primacy of cases, this case was the last filed case. All of the state court litigation
24   filed related to the election preceded this action. As to the nature of the claims, while
25   Plaintiffs bring their claims under federal laws, the crux of their arguments, and the statutes
26   upon which they rely, involve Arizona election law and the election procedures carried out
27   at the county and state level by state officials. The state courts are adequately equipped to
28
     12
          The Court finds that the first factor is not relevant to the facts alleged herein.

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 1   protect the rights of the named Plaintiffs, especially considering that Plaintiff Ward already
 2   pursued her grievances there. Moreover, as Congress has conferred concurrent jurisdiction
 3   on state courts to adjudicate Section 1983 claims, there is no concern that the state is unable
 4   to adjudicate Plaintiffs’ Section 1983 claims. Felder v. Casey, 487 U.S. 131, 139 (1988).
 5   Lastly, abstention would alleviate the necessity to consider whether this matter was filed
 6   in this Court as a form of forum shopping, especially considering that a number of other
 7   related state court lawsuits have already been disposed of. The eighth factor is the only
 8   factor that weighs against abstention, as it does not appear that Plaintiffs’ allegations of
 9   widespread fraud in relation to the tabulation systems and software were before the state
10   court. However, as discussed infra, the Court finds that claim lacks Rule 9(b) particularity
11   and plausibility.
12          Moreover, when considering abstention, “proper constitutional adjudication, regard
13   for federal-state relations, or wise judicial administration,” also inform this Court.
14   Quackenbush, 517 U.S. at 716. If the Court were to reach the merits of Plaintiffs’ claims,
15   it would be entirely possible today for it to reach a different legal determination, or the
16   same conclusion but with a different analysis, than the Arizona Supreme Court reached in
17   Ward v. Jackson. The Court cannot think of a more troubling affront to “federal-state
18   relations” than this. See Quackenbush, 517 U.S. at 716. Therefore, the Court finds that
19   abstention of these parallel issues is appropriate and indeed necessary.
20          C.     Eleventh Amendment
21          Defendants also argue that the Eleventh Amendment bars Plaintiffs’ demands for
22   relief because they, as state officials who have not consented to being sued, are immune
23   from suit. Further, they argue that no exception applies, that the relief Plaintiffs seek is not
24   prospective, and that the claims are barred.
25          The Eleventh Amendment to the Constitution provides:
26
            The Judicial power of the United States shall not be construed to
27          extend to any suit in law or equity, commenced or prosecuted against
            one of the United States by Citizens of another State, or by Citizens
28
            or Subjects of any Foreign State.


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 1   U.S. Const. amend. XI. Such immunity applies when a citizen brings a claim against their
 2   own state. See Hans v. Louisiana, 134 U.S. 1, 19 (1890). The immunity extends to “suit[s]
 3   against state officials when the state is the real, substantial party in interest.” Pennhurst
 4   State Sch. & Hosp. v. Halderman, 465 U.S. 89, 100 (1984). “This jurisdictional bar applies
 5   regardless of the nature of the relief sought.” Id. “When the suit is brought only against
 6   state officials, a question arises as to whether that suit is a suit against the State itself.” Id.
 7   at 101. “The general rule is that a suit is against the sovereign . . . if the effect of the
 8   judgment would be to restrain the Government from acting, or to compel it to act.” Dugan
 9   v. Rank, 372 U.S. 609, 620 (1963).
10          There are three recognized exceptions to the above: (1) Congress has abrogated the
11   immunity within a federal statute; (2) the State has waived immunity and allowed
12   individuals to sue it pursuant to specific state statutes; and (3) in “claims seeking
13   prospective injunctive relief against state officials to remedy a state’s ongoing violation of
14   federal law.” Ariz. Students’ Ass’n v. Ariz. Bd. of Regents, 824 F.3d 858, 865 (9th Cir.
15   2016) (citing Ex parte Young, 209 U.S. 123 (1908)) (emphasis added).
16          None of these exceptions are present here. As for Plaintiffs’ 42 U.S.C. § 1983
17   claims, Congress did not abrogate the states’ immunity from suit in the enacting language
18   of Section 1983, and therefore, the Eleventh Amendment bars those claims. See Will v.
19   Michigan Dep’t of State Police, 491 U.S. 58, 66 (1989) (holding that Section 1983 “does
20   not provide a federal forum for litigants who seek a remedy against a State for alleged
21   deprivations of civil liberties”). Plaintiffs provided no argument or authority that the state
22   has explicitly waived its immunity for elections challenges.             Therefore, the second
23   exception does not apply. As for the remaining claims, the Court must determine whether
24   Plaintiffs are seeking prospective relief to cure an ongoing violation of federal law.
25          “In determining whether the doctrine of Ex parte Young avoids an Eleventh
26   Amendment bar to suit, a court need only conduct a straightforward inquiry into whether
27   [the] complaint alleges an ongoing violation of federal law and seeks relief properly
28   characterized as prospective.” Verizon Md., Inc. v. Pub. Serv. Comm’n, 535 U.S. 635, 645


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 1   (2002) (internal citations omitted). However, where the claims are state law claims,
 2   masked as federal law claims, Ex parte Young is inapplicable and the Eleventh Amendment
 3   clearly bars the suit. See Massey v. Coon, 865 F.2d 264 (9th Cir. 1989) (affirming dismissal
 4   where “on its face the complaint states a claim under the due process and equal protection
 5   clauses of the Constitution, [but] these constitutional claims are entirely based on the
 6   failure of defendants to conform to state law”); see also Pennhurst, 465 U.S. at 90 (“[W]hen
 7   a plaintiff alleges that a state official has violated state law” and “when a federal court
 8   instructs state officials on how to conform their conduct to state law, this conflicts directly
 9   with the principles of federalism that underlie the Eleventh Amendment.”). This is true
10   whether the relief requested is “prospective or retroactive” in nature. Pennhurst, 465 U.S.
11   at 106.
12             Here, Plaintiffs face a number of difficulties in their attempt to pierce Defendants’
13   sovereign immunity. Defendants argue that all of Plaintiffs’ allegations are actually state
14   law allegations masked under federal law. Defendants point to numerous instances in
15   Plaintiffs’ Complaint where Arizona state election law is relied on, including their catch-
16   all fraud claims, which are entirely based on state law. The Eleventh Amendment clearly
17   bars such claims. See Pennhurst, 465 U.S. at 106 (“On the contrary, it is difficult to think
18   of a greater intrusion on state sovereignty than when a federal court instructs state officials
19   on how to conform their conduct to state law.”).
20             However, even assuming that Plaintiffs established that their claims are indeed
21   independent federal claims, it is unclear what ongoing violation of federal law is being
22   asserted. Plaintiffs allege Due Process and Equal Protection claims, along with a catch-all
23   fraud claim, that arise from Defendants’ alleged failure to follow Arizona state election
24   laws. (Doc. 1 at ¶¶ 106–120). These numerous alleged violations—related to alleged
25   issues with signature verification, ballot duplication, and poll observation—concern past
26   conduct.13 The relief requested—compelling the Governor to decertify the election—
27   13
        These include objections regarding poll watchers’ ability to observe ballot counting,
     issues related to the manner and process by which Arizona election officials matched
28   signatures on absentee ballots (Doc. 1 at ¶¶ 46–48); issues related to the process and role
     assigned to poll referees in settling unresolved disputes between adjudicators (Id. at ¶ 49);

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 1   similarly seeks to alter past conduct. Plaintiffs have not identified an ongoing violation to
 2   enjoin. In short, “Plaintiffs are seeking to undo what has already occurred, as their
 3   requested relief reflects.” See King v. Whitmer, 2020 WL 7134198, at *5 (E.D. Mich. Dec.
 4   7, 2020).
 5          The Eleventh Amendment bars the injunctive relief sought.
 6          D.     Laches
 7          Defendants also argue that the doctrine of laches bars Plaintiffs’ claims. Laches
 8   will bar a claim when the party asserting it shows the plaintiff unreasonably delayed in
 9   filing the action and the delay caused prejudice to the defendant or the administration of
10   justice. Danjaq LLC v. Sony Corp., 263 F.3d 942, 951–52 (9th Cir. 2001) (noting that
11   laches requires a “defendant [] prove both an unreasonable delay by the plaintiff and
12   prejudice to itself”). Laches can bar untimely claims for relief in election cases, even when
13   the claims are framed as constitutional challenges.       Soules v. Kauaians for Nukolii
14   Campaign Comm., 849 F.2d 1176, 1181 (9th Cir. 1988); U.S. v. Clintwood Elkhorn Min.
15   Co., 553 U.S. 1, 9 (2008) (“[A] ‘constitutional claim can become time-barred just as any
16   other claim can.’”) (quoting Block v. North Dakota ex rel. Board of Univ. and School
17   Lands, 461 U.S. 273, 292 (1983)).
18          Plaintiffs filed their Complaint and request for TRO seeking to “de-certify” the
19   election results on December 2, 2020, nearly a month after the General Election on
20   November 3, 2020. Plaintiffs conclusively argue that they waited this long because they
21   “could not have known the basis of their claim, or presented evidence substantiating their
22   claim, until after the election.” (Doc. 44 at 9). They further state that, because “Arizona
23   election officials and other third parties did not announce or publicize their misconduct,
24   and in fact prevented Republican poll watchers from observing the ballot counting and
25   handling, it took Plaintiffs additional time post-election to gather the fact and expert
26   witness testimony presented in the Complaint.” (Id.) During oral argument, Plaintiffs’
27   counsel repeatedly stated that the alleged fraud related to the Dominion voting machines
28   “irregularities” with the voting machines (Id. at ¶¶ 50–52); and certification of the
     Dominion voting system on November 18, 2020 (Id. at ¶ 53).

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 1   was not known until election night, when their experts noted a “blip” in their reporting data
 2   that showed an increase in votes for Joe Biden around 8:00 p.m. Plaintiffs also argue that
 3   A.R.S. §16-673 supports the timeliness of their Complaint because it requires an elector to
 4   file a challenge to the election in state court within five days of certification of the election.
 5          Plaintiffs’ Complaint includes a hodge-podge of alleged misconduct by Arizona
 6   elections officials, occurring on various dates over the past weeks, months, and even years.
 7   In addition to the objections regarding poll watchers’ inability to observe ballot counting
 8   and handling, Plaintiffs also object to the manner and process by which Arizona election
 9   officials matched signatures on absentee ballots (Doc. 1 ¶¶ 46–48); to the process and role
10   assigned to poll referees in settling unresolved disputes between adjudicators (Id. at ¶ 49);
11   to “irregularities” with the voting machines on Election Day and before (Id. at ¶¶ 50–52);
12   and to the certification of the Dominion voting system on November 18, 2020 (Id. at ¶ 53).
13          The affidavits or declarations upon which Plaintiffs rely clearly shows that the basis
14   for each of these claims was either known well before Election Day or soon thereafter, and
15   thus cannot be excused by a lack of knowledge nor an inability to substantiate their claims
16   through December 2. For example, Plaintiffs’ Complaint cites to documents showing that
17   Plaintiffs were in possession of information about suspected irregularities with the
18   Dominion voting machines as early as 2018. (Id. at ¶¶ 21, 69, 71–73) (referencing
19   “publicly available evidence (including judicial and administrative proceedings)” that
20   discuss concerns with security flaws in Dominion voting machines dating back to 2018);
21   (Doc. 1-10 at 19, Ex. 20, Declaration of Mark Paul Law dated November 24, 2020
22   (describing his concerns over Maricopa County Dominion voting machine security and
23   observations while poll watching on October 25, 2020 and November 1, 2020); id. at 30,
24   Ex. 22, Declaration of Gregory Wodynski dated November 23, 2020 (describing his
25   concerns over Maricopa County Dominion voting machine security and his perception that
26   “Bruce,” a Dominion employee, could manually manipulate voter data files while poll
27   watching on October 24, 2020 and November 1, 2020).
28          Plaintiffs also include documents showing that the facts underlying their allegations


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 1   of ballot counting and verification misconduct occurred weeks before Election Day.
 2   Canvassing in Arizona began in October, and the poll watcher declarations and affidavits
 3   attached to the Complaint object to the signature verification and ballot process during this
 4   time. (See Doc. 1-3 at 7, Ex. 5) (containing unsigned Declaration dated October 25, 2020
 5   from poll watcher objecting to “NO EFFECTIVE oversight” in signature verification
 6   rooms); id. at 9, Ex. 5A (document listing poll watcher objections made on 10/7/20,
 7   10/23/20, 10/24/20, 10/29/20); (Doc. 1-10 at 25, Ex. 21) (containing a Declaration of poll
 8   watcher Judith Burns dated November 16, 2020 and noting her objections in observing the
 9   signature verification and ballot processing on October 17, 2020 and October 21, 2020).
10   In a statement from Ms. Linda Brickman, the First Vice-Chair of the Maricopa County
11   Republican Committee, she represents that she had ongoing concerns regarding the
12   signature verification for early and mail-in ballots during her time as an elections worker
13   “from 10/19/20 to 11/11/20” (Doc. 1-10 at 38, Ex. 23) and had objections to the Logic and
14   Accuracy Certification of the Dominion voting systems that occurred on November 18,
15   2020. (Id. at 35). Indeed, at least one Plaintiff has already raised some of these complaints
16   in state court.14 Ward, CV2020-015285 (Super. Ct. of Ariz. Dec. 4, 2020) (dismissing the
17   Petition with prejudice); (Doc. 58-1 at 14, Ex. B). Dr. Ward clearly knew the basis of her
18   claim before December 2, 2020 but offers no reasonable explanation for the delay in
19   bringing this suit in federal court. When contesting an election, any delay is prejudicial,
20   but waiting until a month after Election Day and two days after certification of the election
21   is inexcusable.   See Kelly v. Penn., 2020 WL 7018314, at *1 (Pa. Nov. 28, 2020)
22   (“Petitioners failed to act with due diligence in presenting the instant claim” when they
23   waited until November 21 to sue to invalidate Pennsylvania’s election); Kistner v. Simon,
24   No. A20-1486, slip op. at 3–4 (Minn. Dec. 4, 2020); see also, e.g., Ariz. Libertarian Party
25
     14
       As she does here, Ms. Ward’s state court action claimed that poll watchers were given
26   insufficient opportunity to observe the actions of election officials. Notably, the state court
     judge found this claim barred by the doctrine of laches, as Ms. Ward had failed to assert it
27   during a time when it could have been corrected. (Doc. 1-10 at 19 (“The observation
     procedures for the November general election were materially the same as for the August
28   primary election, and any objection to them should have been brought at a time when any
     legal deficiencies could have been cured.”).

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 1   v. Reagan, 189 F. Supp. 3d 920, 922–23 (D. Ariz. 2016).
 2          The Court does not find that the Arizona state election challenge deadline excuses
 3   delay on Plaintiffs’ part in these circumstances. See A.R.S. §16-673. As noted above, the
 4   facts underlying the suspected irregularities complained of were either known to Plaintiffs
 5   prior to Election Day or soon thereafter. Although Arizona electors may have a deadline
 6   by which to file election contests in Arizona state court, Plaintiffs here opted to file their
 7   federal constitutional challenges in federal court. The exhibits to the Complaint confirm
 8   that the events complained of occurred on or before Election Day. Accordingly, the Court
 9   rejects Plaintiffs’ self-serving statement that they did not know the basis for their claims
10   before December 2, 2020. The documents they submit with their Complaint plainly shows
11   the contrary is true, and the delay—which has resulted in a rush by this Court and
12   Defendants to resolve these issues before the Electoral College meeting deadline of
13   December 14, 2020—is unreasonable.
14          The second part of the laches test—prejudice—is also unquestionably met. First,
15   the prejudice to the Defendants and the nearly 3.4 million Arizonans who voted in the 2020
16   General Election would be extreme, and entirely unprecedented, if Plaintiff were allowed
17   to have their claims heard at this late date. SW Voter Registration Educ. Project v. Shelley,
18   344 F.3d 914, 919 (9th Cir. 2003) (“Interference with impending elections is extraordinary,
19   and interference with an election after voting has begun is unprecedented.”). As an Eastern
20   District of Michigan Court stated in a nearly identical case, “[the prejudice] is especially
21   so considering that Plaintiffs’ claims for relief are not merely last-minute—they are after
22   the fact. While Plaintiffs delayed, the ballots were cast; the votes were counted; and the
23   results were certified. The rationale for interposing the doctrine of laches is now at its
24   peak.” King, 2020 WL 7134198, at *7.
25          Second, the challenges that Plaintiffs assert quite simply could have been made
26   weeks ago, when the Court would have had more time to reflect and resolve the issues.
27   “Unreasonable delay can prejudice the administration of justice by compelling the court to
28   steamroll through . . . delicate legal issues in order to meet election deadlines.” Arizona


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 1   Libertarian Party, 189 F. Supp. 3d at 923 (quotation marks and citations omitted).
 2   Plaintiffs offer no reasonable explanation why their claims were brought in federal court
 3   at this late date. Their delay and the resulting prejudice bars their claims by laches.
 4          E.     Mootness
 5          Defendants also argue that this case is moot. (Docs. 38 at 5; 40 at 22). The Court
 6   agrees. “Mootness is a jurisdictional issue, and ‘federal courts have no jurisdiction to hear
 7   a case that is moot, that is, where no actual or live controversy exists.’” Foster v. Carson,
 8   347 F.3d 742, 745 (9th Cir. 2003) (quoting Cook Inlet Treaty Tribes v. Shalala, 166 F.3d
 9   986, 989 (9th Cir. 1999)). In addition, a case is moot when a party cannot obtain relief for
10   its claim. Id.; see also Ruvalcaba v. City of L.A., 167 F.3d 514, 521 (9th Cir. 1999).
11          Plaintiffs request an injunction that (a) enjoins Governor Ducey from transmitting
12   the certified results, (b) orders Defendants to “de-certify” the election results, (c) nullifies
13   votes tabulated by uncertified machines, (d) declares that illegal ballot fraud occurred in
14   violation of the Electors and Elections Clauses and the Fourteenth Amendment’s Due
15   Process and Equal Protections Clauses, (e) mandates a manual recount or statistical
16   sampling of all mail-in and absentee ballots, and (f) allows Plaintiffs to seize and inspect
17   voting hardware and software as well as security camera recordings “of all rooms used in
18   Maricopa County” from November 3 to 4. (Doc. 1 at ¶ 145).
19          Obviously, the Court cannot enjoin the transmission of the certified results because
20   they have already been transmitted. (Doc. 40 at 4). Plaintiffs’ counsel orally argued that
21   Defendants had the power to de-certify the election under 3 U.S.C. § 6. Nothing in that
22   statute authorizes this Court to de-certify the results. The manner provided to contest
23   elections under Arizona law requires election contest claims to be brought, “in the superior
24   court of the county in which the person contesting resides or in the superior court of
25   Maricopa County.” A.R.S. § 16-672. Therefore, if de-certification were possible, it would
26   only be possible through an action brought in Arizona superior court. In other words, this
27   Court has no power to de-certify the results. But even assuming the Court were able to
28   grant the extraordinary relief requested, ordering Governor Ducey to de-certify the


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 1   election, such relief would necessarily run afoul of 3 U.S.C. § 6 by ignoring Arizona law.
 2   In this instance, the Court cannot allow Plaintiffs to circumvent both federal and Arizona
 3   law.
 4           Because this Court cannot de-certify the results, it would be meaningless to grant
 5   Plaintiffs any of the remaining relief they seek. See Wood v. Raffensperger, 2020 WL
 6   7094866, at *6 (11th Cir. Dec. 5, 2020) (“[I]t is not possible for us to delay certification
 7   nor meaningful to order a new recount when the results are already final and certified.”);
 8   King, 2020 WL 7134198, at *5 n.3 (“[T]he evidence Plaintiffs seek to gather by inspecting
 9   voting machines and software and security camera footage only would be useful if an
10   avenue remained open for them to challenge the election results.”). Plaintiffs’ claims are
11   moot.
12           F.    Failure to State a Claim
13           “A motion to dismiss a complaint or claim ‘grounded in fraud’ under Rule 9(b)15
14   for failure to plead with particularity is the functional equivalent of a motion to dismiss
15   under Rule 12(b)(6) for failure to state a claim.” Vess v. Ciba-Geigy Corp. USA, 317 F.3d
16   1097, 1107 (9th Cir. 2003). In a Rule 12(b)(6) context, courts must consider all well-
17   pleaded factual allegations as true and interpret them in the light most favorable to the
18   plaintiff. Schlegal v. Wells Fargo Bank, NA, 720 F.3d 1204, 1207 (9th Cir. 2013).
19   Dismissal is proper when there is either (1) a lack of a cognizable legal theory or (2)
20   insufficient facts to support a cognizable legal claim. Conservation Force v. Salazar, 646
21   F.3d 1240, 1242 (9th Cir. 2011), cert. denied, Blasquez v. Salazar, 565 U.S. 1261 (2012).
22           When pleading allegations concerning fraudulent conduct, Rule 9(b) requires
23   something more than Rule 8: particularity. Ashcroft v. Iqbal, 556 U.S. 662, 686 (2009);
24
     15
25      Although Plaintiffs strenuously argue that they can bring their Arizona election law-
     based claims in federal court because of the presence of federal allegations, they also boldly
26   assert in their Reply that they need not follow the heightened pleading standard of Federal
     Rule of Civil Procedure 9(b) in pleading their fraud claims with particularity, because the
27   federal rules are somehow abrogated by “controlling Arizona Supreme Court precedent.15”
     (Doc. 44 at 23). Plaintiffs cannot have it both ways. Plaintiffs have not provided any
     authority that a state court decision can alter the pleading requirements in federal court
28   established by United States Supreme Court precedent and the Federal Rules of Civil
     Procedure.

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 1   see also Fed. R. Civ. P. 9(b) (“In alleging fraud or mistake, a party must state with
 2   particularity the circumstances constituting fraud or mistake.”).         “This particularity
 3   requirement demands a higher degree of notice than that required for other claims. The
 4   claim must identify who, what, where, when, and how.” U.S. ex rel. Costner v. United
 5   States, 317 F.3d 883, 888 (8th Cir. 2003).
 6          Moreover, “claims of fraud or mistake . . . must, in addition to pleading with
 7   particularity, also plead plausible allegations. That is, the pleading must state enough facts
 8   to raise a reasonable expectation that discovery will reveal evidence of the misconduct
 9   alleged.” Cafasso, U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1055 (9th
10   Cir. 2011) (internal citations omitted). Indeed, “Rule 9(b) serves not only to give notice to
11   defendants of the specific fraudulent conduct against which they must defend, but also ‘to
12   deter the filing of complaints as a pretext for the discovery of unknown wrongs, to protect
13   [defendants] from the harm that comes from being subject to fraud charges, and to prohibit
14   plaintiffs from unilaterally imposing upon the court, the parties and society enormous
15   social and economic costs absent some factual basis.’” Bly-Magee v. California, 236 F.3d
16   1014, 1018 (9th Cir. 2001) (citing In re Stac Elec. Sec. Litig., 89 F.3d 1399, 1405 (9th Cir.
17   1996)).
18          Establishing the plausibility of a complaint’s allegations is a two-step process that
19   is “context-specific” and “requires the reviewing court to draw on its judicial experience
20   and common sense.” Iqbal, 556 U.S. 679. First, a court must “identif[y] pleadings that,
21   because they are no more than conclusions, are not entitled to the assumption of truth.” Id.
22   Then, assuming the truth only of well-pleaded factual allegations, a court must “determine
23   whether they plausibly give rise to an entitlement to relief.” Id.; see also Eclectic Props.
24   E., LLC v. Marcus & Millichap Co., 751 F.3d 990, 996 (9th Cir. 2014) (identifying the
25   two-step process for evaluating pleadings).           Although a plaintiff’s specific factual
26   allegations may be consistent with a plaintiff’s claim, a district court must assess whether
27   there are other “more likely explanations” for a defendant’s conduct such that a plaintiff’s
28   claims cannot cross the line “‘from conceivable to plausible.’” Iqbal, 556 U.S. at 680


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 1   (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). This standard represents
 2   a balance between Rule 8’s roots in relatively liberal notice pleading and the need to
 3   prevent “a plaintiff with a largely groundless claim” from “‘tak[ing] up the time of a
 4   number of other people, with the right to do so representing an in terrorem increment of
 5   settlement value.’” Twombly, 550 U.S. at 557–58 (quoting Dura Pharmaceuticals, Inc. v.
 6   Broudo, 544 U.S. 336, 347 (2005)).
 7          Advancing several different theories, Plaintiffs allege that Arizona’s Secretary of
 8   State and Governor conspired with various domestic and international actors to manipulate
 9   Arizona’s 2020 General Election results allowing Joseph Biden to defeat Donald Trump in
10   the presidential race. The allegations they put forth to support their claims of fraud fail in
11   their particularity and plausibility.    Plaintiffs append over three hundred pages of
12   attachments, which are only impressive for their volume. The various affidavits and expert
13   reports are largely based on anonymous witnesses, hearsay, and irrelevant analysis of
14   unrelated elections. Because the Complaint is grounded in these fraud allegations, the
15   Complaint shall be dismissed. Vess, 317 F.3d at 1107 (“When an entire complaint, or an
16   entire claim within a complaint, is grounded in fraud and its allegations fail to satisfy the
17   heightened pleadings requirements of Rule 9(b), a district court may dismiss the complaint
18   or claim.”).
19          Plaintiffs first “describe specific violations of Arizona law” to support their fraud
20   claims.16 In doing so, they attach declarations from poll watchers that observed election
21   officials during the November General Election. (Doc. 1 ¶¶ 46–53). As Intervenor-
22   Defendant Maricopa County points out, these are the only declarants offered by Plaintiffs
23   with first-hand observation of the election administration. (Doc. 36 at 4). But these four
24   declarants do not allege fraud at all. (See Doc. 1-10 at 18–24). Instead, they raise
25   objections to the manner and process by which Arizona election officials matched
26   signatures on absentee ballots (Doc. 1 ¶¶ 46–48); to the process and role assigned to poll
27   16
        Plaintiffs’ often scattershot pleadings allege that “Defendants failed to administer the
     November 3, 2020 election in compliance with the manner prescribed by the Georgia
28   legislature.” (Doc 2 at 6) (emphasis added). Plaintiffs also nonsensically include
     references to Wisconsin state statutes. (Doc. 1 at 33).

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 1   referees in settling unresolved disputes between adjudicators (Id. at ¶ 49); to “irregularities”
 2   with the voting machines on Election Day and before (Id. at ¶¶ 50–52); and to the
 3   certification of the Dominion voting system on November 18, 2020 (Id. at ¶ 53). These
 4   objections to the manner in which Arizona officials administered the election cannot serve
 5   to overturn the results of the 2020 presidential election in Arizona because they fail to
 6   present evidence that supports the underlying fraud claim. At most, these are the type of
 7   “garden variety election irregularities” federal courts are “not equipped nor empowered to
 8   supervise . . . .” Griffin v. Burns, 570 F.2d 1065, 1076, 1077 (1st Cir. 1978) (“If every
 9   election irregularity or contested vote involved a federal violation, the court would be thrust
10   into the details of virtually every election, tinkering with the state’s election machinery,
11   reviewing petitioners, registration cards, vote tallies, and certificates of election for all
12   manner of error and insufficiency under state and federal law.”).
13          Plaintiffs next argue that they have expert witnesses who can attest to widespread
14   voter fraud in Arizona.      As an initial matter, none of Plaintiffs’ witnesses identify
15   Defendants as committing the alleged fraud, or state what their participation in the alleged
16   fraudulent scheme was. Instead, they allege that, absentee ballots “could have been filled
17   out by anyone and then submitted in the name of another voter,” “could be filled in by third
18   parties to shift the election to Joe Biden,” or that ballots were destroyed or replaced “with
19   blank ballots filled out by election workers, Dominion or other third parties.” (Doc. 1 ¶¶
20   54–58) (emphasis added). These innuendoes fail to meet Rule 9(b) standards. But perhaps
21   more concerning to the Court is that the “expert reports” reach implausible conclusions,
22   often because they are derived from wholly unreliable sources.
23          Plaintiffs’ expert Mr. William Briggs (“Briggs”), for example, concludes that
24   “troublesome” errors by Arizona election officials “involving unreturned mail-in ballots []
25   are indicative of voter fraud” and that the election should consequently be overturned.
26   (Doc. 1 at ¶ 54). Briggs relies on data provided by an unknown person named “Matt
27   Braynard,” a person who may or may not have tweeted a “Residency Analysis of ABS/EV
28   Voters” on his Twitter account on November 20, 2020 (Doc. 1-2 at 14, Ex. 2); (Id. at 52,


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 1   Ex. 3). Apart from a screenshot of Mr. Braynard’s tweets that day, Plaintiffs offer nothing
 2   further about Mr. Braynard’s identity, qualifications, or methodologies used in conducting
 3   his telephone “survey.” But according to the Briggs’ report, Mr. Braynard conducted his
 4   survey of unknown size and to unknown persons in Georgia, Michigan, Wisconsin,
 5   Arizona, and Pennsylvania regarding absentee ballots, and his “findings” were conveyed
 6   to Mr. Briggs. (Id.) In concluding that there were “clearly a large number of troublesome
 7   ballots in each state,” Mr. Briggs assumed Mr. Braynard’s “survery [sic] respondents
 8   [were] representative and the data [was] accurate.” (Id.)       This cavalier approach to
 9   establishing that hundreds of thousands of Arizona votes were somehow cast in error is
10   itself troublesome. The sheer unreliability of the information underlying Mr. Briggs’
11   “analysis” of Mr. Braynard’s “data” cannot plausibly serve as a basis to overturn a
12   presidential election, much less support plausible fraud claims against these Defendants.
13          The Complaint is equally void of plausible allegations that Dominion voting
14   machines were actually hacked or compromised in Arizona during the 2020 General
15   Election. Plaintiffs are clearly concerned about the vulnerabilities of voting machines used
16   in some counties across Arizona and in other states. They cite sources that attest to
17   knowledge of “well-known” vulnerabilities, have included letters from concerned citizens,
18   Arizona elected officials, and United States senators. Plaintiffs even attach an affidavit of
19   an anonymous witness with connections to the late Venezuelan dictator Hugo Chavez
20   claiming to be privy as to how officials in Venezuela rigged their elections with the help
21   of a voting systems company whose software “DNA” is now used in voting machines in
22   the United States. (Doc. 1-1, Ex. 1). These concerns and stated vulnerabilities, however,
23   do not sufficiently allege that any voting machine used in Arizona was in fact hacked or
24   compromised in the 2020 General Election. Rather, what is present is a lengthy collection
25   of phrases beginning with the words “could have, possibly, might,” and “may have.”
26   (Doc. 1 ¶¶ 8, 53, 55, 57, 60, 66, 77, 88, 91, 108, 109, 122). To lend support to this theory,
27   Plaintiffs offer expert Russell Ramsland, Jr., who asserts there was “an improbable, and
28   possibly impossible spike in processed votes” in Maricopa and Pima Counties at 8:46 p.m.


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 1   on November 3, 2020. (Doc. 1 ¶ 60); (Doc. 1-9, Ex. 17) (emphasis added). He suggests
 2   that this spike “could easily be explained” by presuming that Dominion “pre-load[ed]
 3   batches of blank ballots in files such as Write-Ins or other adjudication-type files then
 4   casting them almost all for Biden using the Override Procedure . . . .” (Doc. 1-9 at 9, Ex.
 5   17). This scenario is conceivable. However, Defendant Hobbs points to a much more
 6   likely plausible explanation: because Arizona begins processing early ballots before the
 7   election, the spike represented a normal accounting of the early ballot totals from Maricopa
 8   and Pima Counties, which were reported shortly after in-person voting closed. (Doc. 40 at
 9   17–18). Thus, the Court finds that while this “spike” could be explained by an illicit
10   hacking of voting machinery in Arizona, the spike is “not only compatible with, but indeed
11   was more likely explained by, lawful, unchoreographed” reporting of early ballot
12   tabulation in those counties. See Iqbal, 556 U.S. at 680. Plaintiffs have not moved the
13   needle for their fraud theory from conceivable to plausible, which they must do to state a
14   claim under Federal pleading standards. Id.
15          Because Plaintiffs have failed to plead their fraud claims with particularity and
16   because the Complaint is grounded in these claims, it must be dismissed.17
17          G.     Motion for TRO and Preliminary Injunction
18          There are multiple independent grounds upon which to dismiss Plaintiffs’
19   Complaint. Accordingly, it is not necessary to reach the merits of Plaintiffs’ requests for a
20   temporary restraining order and preliminary injunction and the Court will therefore only
21   briefly addresses those Motions here.
22          “The standard for issuing a temporary restraining order is identical to that for issuing
23   a preliminary injunction.” Taylor-Failor v. Cty of Hawaii, 90 F. Supp. 3d 1095, 1098 (D.
24   Haw. 2015). Under normal circumstances, both are extraordinary and drastic remedies,
25
     17
        Throughout their pleadings, Plaintiffs allege that there were “spikes” of votes for Joe
26   Biden that occurred in Arizona, which also occurred in other states that certified the
     election for Joe Biden, including Georgia, Wisconsin, Michigan, and Pennsylvania.
27   Regardless of whether these “spikes” shifting the vote majorities from President Trump to
     Vice President Biden occurred in other states, Plaintiffs have presented nothing to support
28   the claim that these same “spikes” occurred in Arizona, where Biden never trailed Trump
     in the vote tally.

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 1   and “should not be granted unless the movant, by a clear showing, carries the burden of
 2   persuasion.’” Lopez v. Brewer, 680 F.3d 1068, 1072 (9th Cir. 2012) (quoting Mazurek v.
 3   Armstrong, 520 U.S. 968, 972 (1997) (per curiam)); see also Winter v. Natural Res. Def.
 4   Council, Inc., 555 U.S. 7, 24 (2008) (“A preliminary injunction is an extraordinary remedy
 5   never awarded as of right.”) (citation omitted). A plaintiff seeking a temporary restraining
 6   order or preliminary injunction must show that (1) he or she is likely to succeed on the
 7   merits, (2) is likely to suffer irreparable harm without an injunction, (3) the balance of
 8   equities tips in his or her favor, and (4) an injunction is in the public interest. Winter, 555
 9   U.S. at 20.
10          Plaintiffs simply cannot establish they have a likelihood of success on their claims.
11   Plaintiffs face serious jurisdictional impediments in bringing their claims to federal court
12   at the eleventh hour. These insurmountable legal hurdles are exacerbated by insufficiently
13   plead allegations of fraud, rendered implausible by the multiple inadmissible affidavits,
14   declarations, and expert reports upon which their Complaint relies.
15          Furthermore, granting Plaintiffs the injunctive relief they seek would greatly harm
16   the public interest. As stated by Defendant Hobbs, “the requested relief would cause
17   enormous harm to Arizonans, supplanting the will of nearly 3.4 million voters reflected in
18   the certified election results and potentially imperiling Arizona’s participation in the
19   Electoral College. It would be more difficult to envision a case in which the balance of
20   hardships would tip more strongly against a plaintiff.” (Doc. 40 at 24). The Court agrees.
21   The significant weight of these two Winters factors requires that the Court deny Plaintiffs’
22   requests for injunctive relief. 18
23   III.   Conclusion
24          Not only have Plaintiffs failed to provide the Court with factual support for their
25   extraordinary claims, but they have wholly failed to establish that they have standing for
26   the Court to consider them. Allegations that find favor in the public sphere of gossip and
27   innuendo cannot be a substitute for earnest pleadings and procedure in federal court. They
28   18
        The Court will vacate the hearing on Plaintiffs’ TRO and Request for Preliminary
     Injunction scheduled for December 10, 2020.

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 1   most certainly cannot be the basis for upending Arizona’s 2020 General Election. The
 2   Court is left with no alternative but to dismiss this matter in its entirety.
 3          Accordingly,
 4          IT IS HEREBY ORDERED that Defendants’ Governor Doug Ducey, Secretary
 5   of State Katie Hobbs, and Intervenor Defendants Maricopa County Board of Supervisors
 6   and Adrian Fontes’ Motions to Dismiss the Complaint (Docs. 36, 38, and 40) are
 7   GRANTED for the reasons stated herein.
 8          IT IS FURTHER ORDERED that all remaining pending motions (Docs. 14, 62,
 9   65 and 66) are denied as moot, and the hearing on Plaintiffs’ TRO and Preliminary
10   Injunction set for December 10, 2020 is vacated.
11          IT IS FINALLY ORDERED that this matter is dismissed, and the Clerk of Court
12   is kindly directed to terminate this action.
13          Dated this 9th day of December, 2020.
14
15
16                                                    Honorable Diane J. Humetewa
17                                                    United States District Judge

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